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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 22-20104-CR-MARTINEZ

 UNITED STATES OF AMERICA,
       Plaintiff,
 v.

 FREDERICK J. BERGMANN, JR.

       Defendant.
 _____________________________/
            DEFENDANT FREDERICK J. BERGMANN, JR.’S
          RESPONSE TO MOTION TO VACATE RESTITUTION
      HEARING TO ALLOW FURTHER CONSULTATION WITH VICTIM

       Defendant, FREDERICK J. BERGMANN, JR., responds to the joint motion to

 vacate restitution hearing to allow further consultation with the victim (ECF 690).

       The government and the other defendants essentially seek a continuance of

 the restitution hearing currently scheduled for May 21, 2024. As noted in the motion,

 counsel for the government was unable to reach the undersigned, who was busy

 working on other matters, before filing the motion. This response is filed so that the

 Court has a complete record on the question of whether each of the parties agrees or

 not to the relief sought. Mr. Bergmann has no objection to continuing the restitution

 hearing and rescheduling it for a future date. Mr. Bergmann, therefore, joins in the

 motion along with the other defendants. We respectfully request that the hearing not

 be rescheduled to take place between May 27 and June 5, 2024, as the undersigned

 will be out of the country.
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                                 Respectfully submitted,

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                                 Counsel for Frederick Bergmann, Jr.

                                 By: ____s/Henry P. Bell_____
                                       Henry P. Bell




                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on May 18, 2024, a true and correct copy of the

 foregoing has been furnished electronically via CMCEF to all counsel of record.




                                       By:    S/ Henry P. Bell
                                              Henry P. Bell
                                              Fla. Bar No. 0090689
